

Arcangeli v Global Indus., Inc. (2025 NY Slip Op 02520)





Arcangeli v Global Indus., Inc.


2025 NY Slip Op 02520


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, BANNISTER, NOWAK, AND HANNAH, JJ.


827 CA 23-01475

[*1]KATHY ARCANGELI, AS ADMINISTRATOR OF THE ESTATE OF JAY EMERY ARCANGELI, DECEASED, PLAINTIFF-APPELLANT,
vGLOBAL INDUSTRIES, INC., AS SUCCESSOR IN INTEREST TO HUTCHINSON MAYRATH, INC., AND/OR MAYRATH INDUSTRIES, INC., AND/OR ROYAL INDUSTRIES, INC., DEFENDANT, LEA MICHAEL HARES, FRANCES M. HARES AND JESSE JAMES HARES, INDIVIDUALLY AND/OR COLLECTIVELY DOING BUSINESS AS HARES FARMS, DEFENDANTS-RESPONDENTS. (APPEAL NO. 2.) 






LIPSITZ GREEN SCIME CAMBRIA LLP, BUFFALO (JOHN A. COLLINS OF COUNSEL), FOR PLAINTIFF-APPELLANT.
SCHNITTER CICCARELLI MILLS PLLC, WILLIAMSVILLE (RYAN J. MILLS OF COUNSEL), FOR DEFENDANTS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Onondaga County (Robert E. Antonacci, II, J.), entered August 30, 2023. The order granted the motion for summary judgment of defendants Lea Michael Hares, Frances M. Hares and Jesse James Hares, individually and/or collectively doing business as Hares Farms. 
It is hereby ORDERED that the order so appealed from is unanimously reversed on the law without costs, the motion of defendants Lea Michael Hares, Frances M. Hares, and Jesse James Hares, individually and/or collectively doing business as Hares Farms is denied, and the complaint is reinstated against those defendants.
Same memorandum as in Arcangeli v Global Indus., Inc. ([appeal No. 1] — AD3d — [Apr. 25, 2025] [4th Dept 2025]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








